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IN THE UNITED STATES TRIee COURT

FOR THE DISTRICT OF DE FAMARWELAND

GLENS OFFICE
AT GALTIMG3S
et Ci MINAL NO. GLA iR-OGL]
BY fa DEPUTY
v. * (Conspiracy to Commit Bank Fraud, 18
U.S.C. §1349; Aggravated Identity

UNITED STATES OF AMERICA

ALFRED MUSA, * Theft, 18 U.S.C. § 1028A; Aiding and
a/k/a “Gucci,” and *  Abetting, 18 U.S.C. § 2)
BRANDON HEAD x,
, *
Defendants *
*
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INDICTMENT
COUNT ONE

(Bank Fraud Conspiracy)

The Grand Jury for the District of Maryland charges that:

At all times material to the Indictment:

1. Defendant, ALFRED MUSA, was in the custody of the Federal Bureau of Prisons
and housed in the Federal Correctional Institute at Fort Dix, New Jersey. Defendant, BRANDON
HEAD was a resident of Waldorf, Maryland.

2. Synchrony Bank is a financial institution as that term is defined in Title 18, Section
20 ‘in that the deposits of Synchrony Bank were insured by the Federal Deposit Insurance
Corporation.

3, Lowe’s Home Improvement (“Lowe’s”) is a retail store with locations throughout
Maryland and the United States. Lowe’s offered a credit card, including instant credit, through in-
store applications, telephone applications, on-line applications over the Internet, and mail-in

applications. These cards were issued by Synchrony Bank.
Manner and Means of the Conspiracy and the Scheme and Artifice to Defraud

4, From in or about August 2017, and continuing through on or about March 2018, in
the District of Maryland and elsewhere, defendants ALFRED MUSA, BRANDON HEAD, and
others known and unknown to the Grand Jury, conspired and agreed together to knowingly and
willfully execute and attempt to execute a scheme and artifice to defraud financial institutions,
and to obtain and attempt to obtain monies, funds and credits of financial institutions, and under
the custody and control of financial institutions, through false and fraudulent pretenses,
representations and promises, as set forth more specifically below.

5. It was a part of the scheme and artifice to defraud that defendants ALFRED
MUSA, BRANDON HEAD, and others known and unknown to the Grand Jury, would obtain the
personal identity information, such as name, date of birth, and social security number, and credit
card account information belonging to other people.

6. It was further a part of the scheme and artifice to defraud that defendants ALFRED
MUSA, BRANDON HEAD, and others known and unknown to the Grand Jury, would use the
personal identity information to open fraudulent instant credit accounts at businesses, such as
Lowe’s, without the knowledge or consent of the individuals whose identity information was used
to apply for the credit accounts.

7. It was further a part of the scheme and artifice to defraud that defendants ALFRED
MUSA, BRANDON HEAD, and others known and unknown to the Grand Jury, would use the
personal identity information to access existing credit accounts at businesses such as Lowes, in
order to make and attempt to make purchases on those accounts, all without the knowledge or

consent of the individuals whose accounts were accessed or the financial institutions who issued

those accounts.
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8. It was further a part of the scheme and artifice to defraud that defendants ALFRED
MUSA, BRANDON HEAD, and others known and unknown to the Grand Jury, would
manufacture and otherwise obtain and use counterfeit identification documents such as state issued
drivers’ licenses and identification cards, bearing the photograph of the individual conducting
credit transactions or obtaining new credit accounts, but the personal identity information of an
individual whose identity they were using to obtain extensions of credit or new credit accounts.

9. It was further part of the scheme and artifice to defraud that defendants ALFRED
MUSA, BRANDON HEAD, and others known and unknown to the Grand Jury, fraudulently
attempted to obtain extensions of credit in excess of $9,900 using the means of identification of
other individuals during the course of the scheme.

' The Charge

10. Beginning in or around August 2017, and continuing through on or about March

2018, in the District of Maryland and elsewhere, the defendants,

ALFRED MUSA,

a/k/a “Gucci,” and

BRANDON HEAD,

and others known and unknown to the Grand Jury, conspired and agreed together to knowingly
and willfully execute and attempt to execute a scheme and artifice to defraud financial institutions,
and to obtain and attempt to obtain monies, funds and credits of financial institutions, and under
the custody and control of financial institutions, by means of materially false and fraudulent

pretenses, representations and promises, in violation of Title 18, United States Code Section 1344.

18 U.S.C. § 1349
COUNT TWO
(Aggravated Identity Theft)

The Grand Jury for the District of Maryland further charges that:
1. Paragraphs 1 through 9 of Count One are hereby incorporated by reference as
though fully set forth herein.
2. Beginning in or around October 2017, and continuing through on or about
December 2017, in the District of Maryland and elsewhere, the defendants,
ALFRED MUSA,
a/k/a “Gucci,” and
BRANDON HEAD
did, during and in relation to a felony violation enumerated in 18 U.S.C. § 1028A(c), knowingly
transfer, possess and use, without lawful authority, a means of identification of another person, to
wit: the defendants transferred, possessed, and used the name and personal identity and financial
information of “DA,” during and in relation to bank fraud conspiracy in violation of

18 U.S.C. § 1349, as set forth in Count One of the Indictment.

18 U.S.C. §§ 1028A(a)(1)and (c)(5)

 

18 U.S.C. §2
Robert Kt |?
Robert K. Hur
United States Attorney
A TRUE BILL

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Foreperson —@

Date: ecu SL, LOW
